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     MANUFACTURING CO., LTD.
16

17                          UNITED STATES DISTRICT COURT
18                        CENTRAL DISTRICT OF CALIFORNIA
19

20 dw-link, Incorporated,                           Case No.: 2:13-cv-00801-GAF (SPx)
21                     Plaintiff,
22         v.                                       ORDER RE JOINT
                                                    STIPULATION FOR DISMISSAL
23 Giant Bicycle, Inc., and Giant                   OF ACTION
     Manufacturing Co., Ltd.,
24
                       Defendants.                  Judge:     Hon. Gary A. Feess
25                                                  Complaint: February 5, 2013
26
     AND RELATED CROSS-CLAIMS.
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     ORDER RE JOINT STIPULATION FOR DISMISSAL OF ACTION 2:13-CV-00801-GAF-SP
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 1
                                               ORDER
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               After considering the concurrently filed Stipulation, and for good cause
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     appearing, the following is Ordered:
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               1.    The entire action, including the complaint and counter-claims, is
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     dismissed with prejudice subject to the right of Defendants, as preserved in the
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     Confidential Settlement Agreement, to assert that the dw-link patents are invalid as a
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     defense, counter-claim or in any proceeding before the U.S. Patent Office in response
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     to a claim against either or both of them for infringement of the dw-link patents.
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               3.    Each party shall bear its own respective attorneys’ fees, expert fees and
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     costs.
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               IT IS SO ORDERED.
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14 Dated: June 23, 2014
                                        The Honorable Gary A. Feess
15 JS-6                                 UNITED STATES DISTRICT COURT JUDGE
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     ORDER RE JOINT STIPULATION FOR DISMISSAL OF ACTION 2:13-CV-00801-GAF-SP
